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Unit_ed States District Court

SOUTHERN DISTRICT OF INDIANA

UNITED sTATEs oF AMERICA
CRIMINAL COMPLAINT

V.

CASE NUMBER: 1:18-mj-1064
MICHAEL DALE FLOYD

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my
knowledge and belief.

Count 1: From an unknown date to the present, in Hancock County, in the Southern District of Indiana
and elsewhere, MICHAEL DALE FLOYD did commit receipt of child pornography, in violation of 18 U.S.C. §
2252(a)(2); and

Count 2: From an unknown date to the present, in Hancock County, in the Southern District of Indiana

_ and elsewhere, MICHAEL DALE FLOYD did commit possession of child pornography, in violation of 18 U.S.C.
§ 2252(a)(4)(B).

I further state that I am a Task Force Officer, and that this complaint is based on the following facts:

SEE ATTACHED AFFIDAVIT

jbl/ries Ta’s,k Force officer (HSI)
Sworn to before me, and subscribed in my presence

October 25 2018 at Indianapolis, Indiana
Date

Continued on the attached sheet and made a part hereof.

 

 

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Debra McVicker Lynch, U.S. Magistrate Judge MM (/_
Name and Title of Judicial officer Signature of J'udi'ci£fofficer

 

 

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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Task Force Ofticer John Pirics, being duly sworn, hereby depose and

state as follows:
INTRODUCTICN AND AGENT BACKGROUND

1. Affiant: I am employed as a Detective with the Carmel Police
Department, and I am currently assigned to the Hamilton County Metro Child
Exploitation Task Force. I have been employed by the Carmel Police
Department as an officer since 1995. I have received extensive training in child
sexual exploitation investigation from several sources, including the Internet
Crimes Against Children Task Force, the Purdue University Cyber Forensics
program, the United States Attorney’s Oftice, and the National Center for
Missing and Exploited Children. I have written numerous search warrants
involving internet crimes against children cases and participated in their
execution. I am currently assigned to operate in an undercover capacity on the
Internet to identify and investigate persons attempting to exploit or solicit
sexual acts with children or trafficking in child pornography I am also a
cross-designated task force officer with US Homeland Security Investigations
(HSI) (formerly US Immigration and Customs Enforcement, Office of
Investigations).

2. Probable Cause: For the reasons listed below, there is probable
cause to believe that Michael Dale Floyd with a DOB of XX-XX-1962 (known
to aft`lant, but redacted) has committed the followingoffenses in the Southern

District of Indiana and elsewhere:

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a. Count 1: Receiving a Visual Depiction of a Minor
Engaging in Sexually Explicit Conduct: Within the Southern District
of Indiana and elsewhere, Michael Dale Floyd knowingly received visual
depictions, using any means or facility of interstate or foreign commerce,
by any means including by computer, where the producing of such visual
depiction involves the use of a minor engaging in sexually explicit
conduct; and such visual depiction is of such conduct, including at least
one visual depiction of a child who the Defendant knew to be
prepubescent or less than 12 years of age, in violation of 18 U.S.C. §
2252(a)(2);

4 b. Count 2: Possession of a Visual Depiction of a Minor
Engaging in Sexually Explicit Conduct: Within the Southern District
of Indiana and elsewhere, Michael Dale Floyd knowingly possessed
matter which contained any visual depiction that has been mailed, or
has been shipped or transported using any means or facility of interstate
or foreign commerce or in or affecting interstate or foreign commerce, or
which was produced using materials which have been mailed or so
shipped or transported, by any means including by computer, where the
producing of such visual depiction involves the use of a minor engaging
in sexually explicit conduct; and such visual depiction is of such
conduct, including at least one visual depiction of a child who the
Defendant knew to be prepubescent or less than 12 years of age, in

violation of 18 § 2252(a)(4)(B).

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3. Child Pornography Trafficking (18 U.S.C. § 2252): This
investigation concerns alleged violations of 18 U.S.C. § 2252, which prohibits a
person from knowingly transporting, shipping, receiving, distributing,
reproducing for distribution, or possessing any visual depiction of minors
engaging in sexually explicit conduct when such visual depiction was either
mailed or shipped or transported in interstate or foreign commerce by any
means, including by computer, or when such visual depiction was produced
using materials that had traveled in interstate or foreign commerce, There are
additional penalties for offenders who possession, distribution, receipt,
reproduction, or transportation of visual depictions includes visual depictions
of pre-pubescent children or children who are less than 12 years of age, There
are also additional penalties for offenders who violate this section after they
have a prior conviction for an offense under this chapter, section 1591,
chapter 71, chapter 109A, or chapter 1 17, or under section 920 of title 10
(article 120 of the Uniform Code of Military Justice), or under the laws of any
State relating to aggravated sexual abuse, sexual abuse, or abusive sexual
conduct involving a minor or ward, or the production, possession, receipt,
mailing, sale, distribution, shipment, or transportation of child pornography, or
sex trafficking of children.

4. Definitions: The following definitions apply to this Affldavit:

a. The term “minor,” as defined in 18 U.S.C. § 2256(1), refers to
any person under the age of eighteen years.

b. T he term “sexually explicit conduct,” 18 U.S.C. §

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2256(2)(A)(i-v), is defined as actual or simulated (a) sexual intercourse,
including genital-genital, oral;genital, anal-genital, or oral-anal, whether
between persons of the same or opposite sex; (b) bestiality; (c)
masturbation; (d) sadistic or masochistic abuse; or (e) lascivious
exhibition of the genitals or pubic areas of any person.

c. The term “visual depiction,” as defined in 18 U.S.C. §
2256(5), includes undeveloped film and videotape, data stored on
computer disc or other electronic means which is capable of conversion
into a visual image, and data Which is capable of conversion into a visual
image that has been transmitted by any means, whether or not stored in
a permanent format.

d. The term “computer,” as defined in 18 U.S.C. § 1030(e)(1),
means an electronic, magnetic, optical, electrochemical, or other high
speed data processing device performing logical, arithmetic, or storage
functions, and includes any data storage facility or communications
facility directly related to or operating in conjunction with such device.
5. Investigation of Christopher Todd Dishman: Your affiant

received lead information from the National Center for Missing and Exploited
Children (NCMEC) that indicated a cloud storage account was being used to
store files depicting the sexual exploitation of children. The lead information
provided a particular email address (suspect email 1 (actual email account is
known to Your affiant)) which was associated with the cloud storage account as

well as the suspected child pornography in that account. The investigation

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indicated that suspect email 1 was also associated with a social media
account belonging to Christopher Todd Dishman (Dishman) of Greenfield,
Indiana.

6. On October 23, 2018, your affiant and HSI Special Agent Michael
Johnson went to Dishman’s place of employment in Greenfield, Indiana. Upon
contacting Dishman and explaining the lead information to Dishman, he
admitted to having created and used the cloud storage account associated with
the lead information to store child pornography. Dishman went on to admit to
using other cloud storage accounts and an LG mobile device to access, store
and view child pornography

7. Dishman initially said that he had left his LG mobile device at
home. After a period of time, a co-worker of Dishman’s entered the open break
room where we were speaking with Dishman and gave Dishman an LG mobile
device. I asked Dishman if this was the same LG mobile device that he had
indicated that he left at home. Dishman indicated that this was the device,
Dishman granted consent for the search of the LG mobile device, Dishman
said he first saw the child pornography in approximately 1996. Dishman
admitted he started to receive the child pornography described herein in or
about 2018.

8. Upon searching the device, in the image and video gallery
application was a folder called “mine”. Inside the folder were at least twelve

(12) videos, all of which appear to depict pre-pubescent children engaging in

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sexually explicit conduct, Dishman admitted to possessing this folder and
having viewed the files contained within.

9. Dishman admitted to having received files depicting child
pornography from the social media application Tumblr. Specifically, Dishman
said that he receives child pornography from the Tumblr account belonging to
Mike Floyd of Greenfield, Indiana. Dishman went on to say approximately 3 to
4 days ago, he had been to Floyd’s residence located at an address in
Greenfield he identified to the affiant. Dishman said that Floyd had shown
Dishman a video depicting child pornography from a laptop computer in
Floyd’s bedroom. Dishman said that the video shown to him by Floyd was also
present on Dishman’s LG mobile device, Dishman identified the video on his
LG mobile device. The Video depicts a toddler age female victim who is nude
and lying on her back. The adult male appears to be attempting to insert his
penis into the Victim’s vagina. The male then ejaculates on the child’s genital
area.

10. Investigation of Michael Dale Floyd: Based on the above
information, State search warrants were issued for the body of Michael Dale
Floyd (Floyd) and his residence, which is located in Greenfield, IN 46140.

1 1. On October 24, 2018, Special Agent Johnson and I met with Floyd
at his place of employment in Greenfield, IN. We identified ourselves both
verbally and by displaying our credentials Floyd was made aware of the

investigation and the search warrants, at which time he surrendered his phone

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which he had been holding in his hand. Floyd was read his Miranda rights
which he waived by signature.

12. During our conversation with Floyd, he admitted receiving and
collecting files of child pornography using both his phone and laptop computer.
He also confirmed that earlier in the week he and Dishman were together at
Floyd’s residence where they watched a video of child pornography that was
playing on Floyd’s laptop computer.

13. Floyd’s laptop computer was located during the search at his
residence in Greenfield, IN 46140. During a forensic search of the laptop, a
folder named “mine’ was located. This folder contained multiple files of child
pornography, and appeared to be the same folder that had been located on
Dishman’s phone during the consensual search on October 23. Two additional
folders containing files of child pornography were located on the laptop during
the search. These folders were named “all mb” and “downloads”. During the
preview dozens of videos depicting child pornography were located. Three of
the videos are described below:

Video lan 23, 3 33 03 AM.mp4 - This is a video file approximately twelve seconds in
length. The video depicts the erect penis of What appears to be an adult male being placed
inside of an infant's mouth.

Video lan 23, 2 09 45 AM.mp4 - This is a video file approximately one minute and five
seconds in length. It depicts a toddler aged male child performing oral sex on what appears
to be an adult male.

VID_20171024_114411.mp4 - This is a video file approximately eight seconds in length.

The video depicts what appears to be an adult male ejaculating into the mouth of a toddler
aged female child.

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14. Conclusion: Based upon the contents of this Affidavit, there is probable
cause to believe that Michael Dale Floyd has committed the above listed
offenses. I respectfully request that the Court issue a Criminal Cornplaint and

Arrest Warrant for Michael Dale Floyd charging him with the offenses listed

above.

    
 

Pirics, Task Force Officer
omeland Security Investigations

Subscribed and sworn before me this 25th day of October, 2018

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Debra McVickei`/Ly€ch
United States Magistrate Judge
Southern District of Indiana

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